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          18                           UNITED STATES DISTRICT COURT
          19                          CENTRAL DISTRICT OF CALIFORNIA
          20                                      SOUTHERN DIVISION
          21     MASIMO CORPORATION,                       CASE NO. 8:20-cv-00048-JVS (JDEx)
                 a Delaware corporation; and
          22     CERCACOR LABORATORIES, INC.,              SUPPLEMENTAL BRIEF IN
                 a Delaware corporation,                   SUPPORT OF DEFENDANT APPLE
          23                                               INC.’S MOTION TO COMPEL
                                    Plaintiffs,            PLAINTIFFS TO COMPLY WITH
          24                                               SECTION 2019.210
                       v.
          25                                               Judge:     Hon. John D. Early
                 APPLE INC.,                               Date/Time: January 21, 2021 / 10:00 AM
          26     a California corporation,                 Courtroom: 6A
          27                        Defendants.            Discovery Cutoff:         7/5/2021
          28                                               Pre-trial Conference:     3/21/2022
                                                           Trial:                    4/5/2022
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                  SUPPLEMENTAL BRIEF ISO APPLE’S MOTION TO COMPEL PLAINTIFFS TO COMPLY WITH § 2019.210
                                           CASE NO. 8:20-CV-00048-JVS (JDEX)
         Case 8:20-cv-00048-JVS-JDE Document 267 Filed 01/07/21 Page 2 of 6 Page ID #:21365


            1    A.      Plaintiffs Rely on Inapposite Legal Standards
            2            “In the trade secret context, the framework for discovery laid out by California
            3    Code of Civil Procedure § 2019.210 is tried and true.” Acorn Bay v. Camelbak Prods.
            4    LLC, No. C 20-05214 (N.D. Cal. Nov. 6, 2020), Dkt. 31 (Lerner Decl. (“Dec.”) Ex. A)
            5    at 1. Plaintiffs cannot avoid it by relying on inapposite standards and arguments.
            6            Plaintiffs wrongly rely on InteliClear v. ETC Global Holdings, 978 F.3d 653 (9th
            7    Cir. 2020), a summary judgment case, to argue their Disclosure is adequate because they
            8    allege one trade secret. Joint Stip. (“JS”) 36, 39. On summary judgment, a plaintiff’s
            9    “burden is only to identify at least one” claim “with sufficient particularity to create a
          10     triable issue.” InteliClear, 978 F.3d at 659. By contrast, Section 2019.210’s purpose is
          11     to “assist[] the court in framing the appropriate scope of discovery and in determining
          12     whether plaintiff’s discovery requests fall within that scope.” Advanced Modular
          13     Sputtering v. Sup. Ct., 132 Cal. App. 4th 826, 834 (2005). Courts continue to require a
          14     particularized description “[f]or each trade secret” prior to discovery. Dec. Ex. A at 1.
          15             Plaintiffs also are wrong to rely on the pleading standard (JS 6), which “is lower”
          16     than that of Section 2019.210. Dec. Ex. B (Early, J.) at 15:9–19; M/A-COM Tech. Sols.
          17     v. Litrinium, 2019 WL 4284523, at *3 (C.D. Cal. June 11, 2019). Judge Selna held that
          18     “                                                                                          ”
          19     because their “                                                      .” Dec. Ex. C at 8. A
          20     2019.210 disclosure serves that function and must provide more detail than a pleading.
          21     B.      Plaintiffs Must Distinguish Their Alleged Secrets from the Art
          22             Plaintiffs’ alleged secrets are technical, relate to technology allegedly covered by
          23     their patents (TAC ¶¶ 9–17), and are at most incremental advances in their field.
          24     Samplin Dec. Ex. E (“publications have mentioned . . .                                ” and
          25     “                              ”); Madisetti ¶ 53; Polson ¶ 155 (“
          26                                              ”). Thus, a “more exacting level of particularity”
          27     is required to distinguish from public knowledge. Sputtering, 132 Cal. App. 4th at 836.
          28             Rather than explain how their alleged secrets differ from the art, Plaintiffs

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                     SUPPLEMENTAL BRIEF ISO APPLE’S MOTION TO COMPEL PLAINTIFFS TO COMPLY WITH § 2019.210
                                              CASE NO. 8:20-cv-00048-JVS (JDEx)
         Case 8:20-cv-00048-JVS-JDE Document 267 Filed 01/07/21 Page 3 of 6 Page ID #:21366


            1    mischaracterize Dr. Polson’s declaration, which focuses on the correct inquiry under
            2    Section 2019.210—whether Plaintiffs’ descriptions allow Apple to determine “
            3                                                                                  .” Polson ¶ 20.
            4    They do not. Plaintiffs’ expert, Dr. Madisetti, merely parrots their argument that the
            5    alleged secrets were not readily ascertainable1 or known at the time of misappropriation.2
            6    But those are separate issues with no bearing on whether Plaintiffs’ Disclosure
            7    differentiates the alleged secrets from the art. Indeed, Madisetti’s only relevant rebuttal
            8    is an entirely insufficient and conclusory paragraph: “
            9
          10                                                 .” Madisetti ¶¶ 36, 41, 48, 56, etc.3
          11           More troubling is Madisetti’s suggestion that Plaintiffs’ secrets are
          12                                                . Madisetti ¶¶ 32, 34. The alleged secrets are
          13     “techniques” and “strategies,” not                 (no secret is described as a
          14     in the Disclosure). If Plaintiffs want to claim now, for the first time, that their Disclosure
          15     describes                , they must re-write it as a matter of established law. Plaintiffs
          16     must “describe[] how [they] believe[] the                    . . . distinguish[es] the alleged
          17     trade secrets from the prior art.” Brescia v. Angelin, 172 Cal. App. 4th 133, 146 (2009);
          18     Perlan Therapeutics v. Superior Court, 178 Cal. App. 4th 1333, 1352 (2009). Plaintiffs
          19     cannot use a new “‘               ’ theory . . . to gerrymander a claim.” Graves & Range,
          20     Ident. of Trade Secret Claims in Litig., 5 Nw. J. Tech. & Intell. Prop. 68, 77–78 (2006).
          21           Finally,   Plaintiffs   cannot    equate    Polson’s    declaration    with    that   of
          22      1
                     Plaintiffs are wrong that “information can be a trade secret even though it is readily
                 ascertainable.” JS 62 n.12. More recent decisions explain that “[i]nformation that is
          23     readily ascertainable” cannot be a trade secret; it “derives no independent value from
                 not being generally known.” Syngenta Crop Prot., Inc. v. Helliker, 138 Cal. App. 4th
          24     1135, 1172 (2006); In re Sotera Wireless, Inc., 591 B.R. 453, 458–59 (S.D. Cal. 2018).
                  2
          25         Plaintiffs suggest that they need not differentiate their own patent, which published
                 after the alleged misappropriation. JS 33. That argument is illogical and not supported
          26     by the law. If Plaintiffs publicly disclosed exactly the same secret, that is relevant to
                 reasonable efforts, the statute of limitations, and damages.
          27      3
                     Proofpoint, Inc. v. Vade Secure, Inc., where defendants “failed to explain why the
                 level of specificity” was “not reasonable,” is distinguishable. 2020 WL 1911195, at *7
          28     (N.D. Cal. Apr. 20, 2020). Apple has explained its inability to discern the boundaries
                 of the alleged secrets or investigate whether they differ from general trade knowledge.
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                  SUPPLEMENTAL BRIEF ISO APPLE’S MOTION TO COMPEL PLAINTIFFS TO COMPLY WITH § 2019.210
                                           CASE NO. 8:20-cv-00048-JVS (JDEx)
         Case 8:20-cv-00048-JVS-JDE Document 267 Filed 01/07/21 Page 4 of 6 Page ID #:21367


            1    Dr. Sarrafzadeh’s supporting Apple’s PI opposition. JS 53–54. At the time of the PI,
            2    Plaintiffs had not provided a Disclosure, and Judge Selna applied a “sufficient
            3    particularity” standard to just one alleged secret. Plaintiffs’ Disclosure, on the other
            4    hand, includes dozens of alleged secrets, and the standard under Section 2019.210 is
            5    different—Plaintiffs must identify the specific aspects of each alleged secret that differ
            6    from prior art. Brescia, 172 Cal. App. 4th at 150 n.2; M/A-COM, 2019 WL 8108729, at
            7    *4 (disclosure “identify[ing] designs” deficient where “[d]efendants’ expert
            8    explain[ed]” that such designs “are described in public materials”).
            9    C.     Plaintiffs Fail to Identify the Allegedly Misappropriated Trade Secrets
          10            Plaintiffs suggest that no authority requires them to describe the misappropriated
          11     secrets, but Section 2019.210 expressly requires exactly that. Cal. Code Civ. Proc.
          12     § 2019.210. Merely identifying certain patents fails to do so, as patents encompass
          13     publicly known elements. 35 U.S.C. § 103. Patent claims also, by definition, recite only
          14     minimum requirements of a claimed invention and cannot convey boundaries of trade
          15     secrets. See SanDisk Corp. v. Memorex Prod., 415 F.3d 1278, 1284 (Fed. Cir. 2005).
          16     Plaintiffs must identify the alleged secrets in Apple’s patents and the Apple Watch to
          17     show how Plaintiffs believe their secrets are “separate” from general knowledge.
          18     C.     Plaintiffs Hide Behind Vague Descriptions of Their Alleged Secrets
          19            Plaintiffs accuse Apple of omitting “detail” from their alleged secrets, but Apple
          20     did not omit any specificity. For example, Plaintiffs argue that this (underlined) omitted
          21     portion explains “‘
          22
          23
          24                 .” JS 39. But it does not explain what “                           , how they
          25     relate to                                or what role “
          26                                            ” play. Plaintiffs say “Apple well understands
          27     [their] reference to ‘          ’” because Apple’s expert discussed “such                ”
          28     in its PI opposition. Id. But Apple’s expert opined only on “              ” in Plaintiffs’

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                   SUPPLEMENTAL BRIEF ISO APPLE’S MOTION TO COMPEL PLAINTIFFS TO COMPLY WITH § 2019.210
                                            CASE NO. 8:20-cv-00048-JVS (JDEx)
         Case 8:20-cv-00048-JVS-JDE Document 267 Filed 01/07/21 Page 5 of 6 Page ID #:21368


            1    ’713 and ’305 patents—not their alleged secrets. ECF 142 ¶¶ 32–33, 39, 42. Plaintiffs
            2    have argued that those patents do not disclose their secrets (ECF 161-1 at 2–6), but now
            3    assert that “                   are the same (JS 39). This is Plaintiffs’ “shifting of sands”
            4    approach to describing their alleged secrets. Dec. Ex. B (Early, J.) at 14:20–15:7.
            5            Plaintiffs argue they need not describe “‘how’ Plaintiffs have implemented” their
            6    secrets because the secrets can “fall into a continuum.” JS 40–41 (quoting BladeRoom
            7    v. Facebook, 2017 WL 2224838, at *2 (N.D. Cal. May 22, 2017)). BladeRoom held
            8    only that the types of information that can qualify as secret span a continuum, not that a
            9    specific secret need not be described with particularity. Plaintiffs also argue that Apple
          10     cannot rely on I-Flow v. Apex Med. Techs., because a later decision in the case accepted
          11     a “description far less detailed” than their Disclosure. JS 51–53. But the plaintiff in I-
          12     Flow alleged that it communicated its secrets to the defendant in a “Collaborative Effort”
          13     (Powell Dec. Ex. 20 at 234 ¶ 2), so there was no doubt about the secrets’ boundaries.
          14     Here, there was no collaborative effort—most claims are tied to Lamego, who worked
          15     at Apple for a period of months six years ago, and Plaintiffs have not pled the secrets
          16     that Lamego and O’Reilly allegedly conveyed to Apple. See, e.g., Dec. Ex. C at 13–14.
          17             Plaintiffs argue (JS 41-42) that the disclosure in Freeman v. Frank Russell, 2016
          18     WL 5719819, at *11 (S.D. Cal. Sept. 30, 2016), was nothing like the Disclosure here.
          19     The opposite is true. “Emphasizing volatility . . . in constructing, using and marketing
          20     a broad-market set of market-weighted stock indexes . . . could mean anything.” Id.
          21     Here, saying “                                       ” likewise could mean anything, and
          22     Plaintiffs can “later attempt to define” the
          23                                                                                             . Id.
          24     This defect permeates the Disclosure, which lacks details to limit any category of secrets
          25     (                                                                  ). Dec. Ex. C at 9, 13.
          26             Plaintiffs claim that Apple is not prejudiced by their deficient Disclosure, but the
          27     tactics employed here have been found to prejudice defendants, and the order that Apple
          28     seeks is a common and reliable way to avoid that prejudice. See Dec. Ex. A at 1–2.

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                     SUPPLEMENTAL BRIEF ISO APPLE’S MOTION TO COMPEL PLAINTIFFS TO COMPLY WITH § 2019.210
                                              CASE NO. 8:20-cv-00048-JVS (JDEx)
         Case 8:20-cv-00048-JVS-JDE Document 267 Filed 01/07/21 Page 6 of 6 Page ID #:21369


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                                           CASE NO. 8:20-cv-00048-JVS (JDEx)
